                                          Case 5:22-cv-00789-JWH-SHK Document 37 Filed 06/27/22 Page 1 of 2 Page ID #:758



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                                                          8                       UNITED STATES DISTRICT COURT
                                                          9                     CENTRAL DISTRICT OF CALIFORNIA
                                                         10   Ross Cornell, an individual, and Bryan    Case No. 5:22-cv-00789 JWH (SHKx)
                                                              Estrada, an individual;
                                                         11                                             [Assigned to Hon. John W. Holcomb]
                                                                                 Plaintiffs,
                    3 HUTTON CENTRE DRIVE, NINTH FLOOR




                                                         12                                             ORDER GRANTING PLAINTIFFS’
                       A PROFESSIONAL LAW CORPORATION
CALLAHAN & BLAINE

                         SANTA ANA, CALIFORNIA 92707




                                                                    v.                                  APPLICATION RE: UNDER SEAL
                          TELEPHONE: (714) 241-4444
                           WWW.CALLAHAN-LAW.COM




                                                         13                                             FILING PURSUANT TO LOCAL
                                                              Office of the District Attorney, County   RULE 79-5
                                                         14   of Riverside, and Does 1-100,
                                                              inclusive;                                Date: , 2022
                                                         15                                             Time: 9:00 a.m.
                                                                                 Defendants.            Courtroom: 9D
                                                         16
                                                                                                        Action Filed: May 9, 2022
                                                         17                                             Trial Date: None set
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                                                                                                 CAPTION
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